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                                                              Attorneys for Plaintiffs GARY BLACKWELL and SHANNON LUELLEN
                                                        7
                                                        8
                                                        9                               UNITED STATES DISTRICT COURT
                                                       10                             CENTRAL DISTRICT OF CALIFORNIA
                                                       11
                  Los Angeles, California 90017-3411




                                                       12     GARY BLACKWELL, an individual; and                CASE NO.:
GERAGOS & GERAGOS, APC
                       HISTORIC ENGINE CO. NO. 28




                                                              SHANNON LUELLEN, an individual;
                     644 South Figueroa Street




                                                       13
                                                                                   Plaintiffs,                  COMPLAINT FOR DAMAGES:
                                                       14
                                                                       vs.                                       1. ASSAULT
                                                       15                                                        2. BATTERY
                                                       16     CITY OF BEAUMONT, a public entity;                 3. NEGLIGENCE;
                                                              OFFICER ANTHONY BECERRA, an                        4. WRONGFUL DEATH;
                                                       17     individual, OFFICER FABIAN SALINAS,                5. VIOLATION OF CIVIL CODE §
                                                              an individual; OFFICER JESSICA                        52.1
                                                       18
                                                              RODRIGUEZ, an individual; OFFICER                  6. VIOLATION OF CIVIL RIGHTS
                                                       19     KEVIN NGUYEN, an individual; OFFICER                  (42 U.S.C. § 1983)
                                                              ANTHONY ROJAS; an individual,
                                                       20     SERGEANT RANDALL MARSH; an
                                                                                                                DEMAND FOR JURY TRIAL
                                                       21     individual; and DOES 1 through 10,
                                                              inclusive,                                        CIVIL - UNLIMITED
                                                       22
                                                                                   Defendants.
                                                       23
                                                       24
                                                       25
                                                       26
                                                       27
                                                       28
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                                                                                                 COMPLAINT FOR DAMAGES
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                                                        1                                            INTRODUCTION
                                                        2            1.     Plaintiffs Gary Blackwell and Shannon Luellen (collectively “Plaintiffs”)
                                                        3     hereby bring this Complaint for Damages against the City of Beaumont and Officers
                                                        4     Anthony Becerra, Fabian Salinas, Jessica Rodriguez, Kevin Nguyen, Anthony Rojas,
                                                        5     Sergeant Randall Marsh, and DOES 1 through 10 (collectively “Defendants”). The
                                                        6     Complaint arises out of Defendants’ reckless and unreasonable use of force to detain Garrett
                                                        7     Blackwell (“Decedent” or “Garrett”).
                                                        8            2.     On or about January 14, 2023, at approximately 12:30 a.m. officers with the
                                                        9     Beaumont Police Department responded to a 911 call regarding a noise complaint from a
                                                       10     white 2018 Ford F-150 truck—owned and operated by a 19-year-old Garrett.
                                                       11            3.     Upon encountering the decedent’s vehicle, Defendants began pursuing the
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                                                       12     white truck. Defendants continued to follow the truck until decedent turned down a road with
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                                                       13     no exit. Consequently, decedent was forced to make a U-turn and try to exit the same way he
                                                       14     entered.
                                                       15            4.     As decedent approached the intersection, Defendants had positioned their
                                                       16     vehicles to block Garrett’s exit.
                                                       17            5.     On information and belief, Garrett tried to drove past all of the officers’
                                                       18     stationary vehicles and unintentionally struck one of the Defendants vehicles. Garrett then
                                                       19     reversed the vehicle and then tried attempted to drive past the officers once again.
                                                       20            6.     On information and belief, as Garrett tried to exit, he unintentionally clipped
                                                       21     another vehicle. At that point, Defendant officers started to open fire on the vehicle—killing
                                                       22     Garrett.
                                                       23            7.     These civil rights and state law claims seek compensatory and punitive
                                                       24     damages from Defendants for violating various rights under the U.S. Constitution and state
                                                       25     law in connection with Defendants’ unlawful shooting and killing of decedent Garret
                                                       26     Blackwell on January 14, 2023.
                                                       27            8.     The foregoing conduct amounts to tortious conduct under common law, the
                                                       28     laws of the State of California pursuant to Gov’t Code §§ 815.2(a) and 820(a), and Cal. Civil
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                                                                                                  COMPLAINT FOR DAMAGES
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                                                        1     Code § 52.1, as well as violations of Plaintiffs’ Civil Rights pursuant to 42 U.S.C. § 1983.
                                                        2
                                                        3                                   JURISDICTION AND VENUE
                                                        4            9.      This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and
                                                        5     1343(a)(3)-(4) because Plaintiff asserts claims arising under the laws of the United States,
                                                        6     including 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments of the United States
                                                        7     Constitution. This Court has supplemental jurisdiction over Plaintiffs’ claims arising under
                                                        8     state law pursuant to 28 U.S.C. § 1367(a), because those claims are so related to the federal
                                                        9     claims that they form part of the same case or controversy under Article III of the United
                                                       10     States Constitution.
                                                       11            10.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendants
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                                                       12     reside in this district and all incidents, events, and occurrences giving rise to this action
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                                                       13     occurred in this district.
                                                       14
                                                       15                                               PARTIES
                                                       16            11.     At all relevant times, GARY BLACKWELL (“PLAINTIFF”) was an
                                                       17     individual residing in Beaumont, California, located in the County of Riverside and is the
                                                       18     natural father of Decedent Garrett Blackwell. Plaintiff sues both in his individual capacity as
                                                       19     the father of Decedent and in a representative capacity as a successor-in-interest to Decedent.
                                                       20            12.     At all relevant times, SHANNON LUELLEN (“PLAINTIFF”) was an
                                                       21     individual residing in Venus, Texas and is the natural mother of Decedent Garrett Blackwell.
                                                       22     Plaintiff sues both in her individual capacity as the mother of Decedent and in a
                                                       23     representative capacity as a successor-in-interest to Decedent.
                                                       24            13.     Defendant CITY OF LOS BEAUMONT (“CITY”) is, and at all relevant times
                                                       25     was, a governmental entity organized and existing under the laws of the State of California in
                                                       26     the County of Riverside, California.
                                                       27            14.     The CITY is responsible for the actions, omissions, policies, procedures,
                                                       28     practices, and customs of its various agents and agencies, including the Beaumont Police
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                                                        1     Department (“BPD”), its agents and employees, and the OFFICERS. At all relevant times,
                                                        2     Defendant CITY was responsible for assuring that the actions, omissions, policies,
                                                        3     procedures, practices, and customs of the BPD and its employees and agents complied with
                                                        4     the laws of the United States and of the State of California. At all relevant times, CITY was
                                                        5     the employer of Defendants DOES 1 through 10.
                                                        6            15.    Defendant OFFICER ANTHONY BECERRA, at all relevant times, was a
                                                        7     police officer acting in the course and scope of his employment with the CITY, BPD, under
                                                        8     the color of authority.
                                                        9            16.    Defendant OFFICER FABIAN SALINAS, at all relevant times, was a police
                                                       10     officer acting in the course and scope of his employment with the CITY, BPD, under the
                                                       11     color of authority.
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                                                       12            17.    Defendant OFFICER JESSICA RODRIGUEZ, at all relevant times, was a
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                                                       13     police officer acting in the course and scope of his employment with the CITY, BPD, under
                                                       14     the color of authority.
                                                       15            18.    Defendant OFFICER KEVIN NGUYEN, at all relevant times, was a police
                                                       16     officer acting in the course and scope of his employment with the CITY, BPD, under the
                                                       17     color of authority.
                                                       18            19.    Defendant OFFICER ANTHONY ROJAS, at all relevant times, was a police
                                                       19     officer acting in the course and scope of his employment with the CITY, BPD, under the
                                                       20     color of authority.
                                                       21            20.    Defendant SERGEANT RANDALL MARSH, at all relevant times, was a
                                                       22     police officer acting in the course and scope of his employment with the CITY, BPD, under
                                                       23     the color of authority.
                                                       24            21.    The true names and/or capacities, whether individual, corporate, associate, or
                                                       25     otherwise of Defendants DOES 1 through 10 are unknown to Plaintiffs at this time and
                                                       26     therefore Plaintiffs file this Complaint against said DOE Defendants by such fictitious names.
                                                       27     Plaintiffs will seek leave of Court to amend this Complaint when the true names and
                                                       28     capacities of said DOE Defendants are ascertained.
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                                                                                             COMPLAINT FOR DAMAGES
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                                                        1            22.    On information and belief, Defendants DOES 1–10 are managerial,
                                                        2     supervisorial, and policymaking employees of the City and BPD, who were acting under
                                                        3     color of law within the course and scope of their duties as managerial, supervisorial, and
                                                        4     policymaking employees for the City and Beaumont Police Department. DOES 1–10 were
                                                        5     acting with the complete authority and ratification of their principal, Defendant CITY.
                                                        6            23.    Plaintiffs are informed and believe, and based upon such information and
                                                        7     belief allege, that each Defendant and Defendants sued herein as DOES 1 through 10 are
                                                        8     contractually, strictly, vicariously liable and/or otherwise legally responsible in some manner
                                                        9     for each and every act, omission, obligation, event, or happening set forth in this Complaint.
                                                       10            24.    Each principal defendant and/or defendant employer herein had advance
                                                       11     knowledge, warning of unfitness of each defendant, agent, and/or employee/employer
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                                                       12     council member, and intentionally employed each such agent and/or employer with a
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                                                       13     conscious disregard, authorization, ratification, or other legal violation. Said employment
                                                       14     and retention was in furtherance of the employer’s business and was carried out by the police
                                                       15     chief, assistant chiefs, captains, managers, executives, officers, directors, or managing agents
                                                       16     of the municipality or other entity.
                                                       17            25.    Collectively, City, Sergeant Marsh, Officers Becerra, Salinas, Rodriguez,
                                                       18     Nguyen, Rojas, and all DOE defendants are discussed herein as part of the “Defendants.”
                                                       19            26.    In doing the acts and failing and omitting to act as hereinafter described, all
                                                       20     Defendants were acting on the implied and actual permission and consent of all other
                                                       21     Defendants including City.
                                                       22            27.    Plaintiffs will ask leave of court to amend this complaint to show the true
                                                       23     names and capacities of such Defendants when the same are ascertained. Plaintiffs are
                                                       24     informed and believe, and thereupon allege that each of these Defendants engaged in
                                                       25     intentional conduct and were acting with the specific intent to cause harm of Garrett
                                                       26     Blackwell, and are responsible in some manner for the occurrences, acts, omissions and other
                                                       27     conduct herein alleged, and that plaintiffs’ damages as herein alleged were directly and
                                                       28     legally (proximately) caused by Defendants’ actions.
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                                                        1                                        FACTUAL BACKGROUND
                                                        2            28.    Plaintiffs reallege and incorporate by reference the allegations contained in the
                                                        3     preceding paragraphs on this complaint, as though fully set forth herein.
                                                        4            29.    On January 14, 2023, Decedent and his two friends, James Pietronico
                                                        5     (“Pietronico”) and Braiden Boedhart (“Goedhart”), went “off-roading” on public land near
                                                        6     Beaumont, California. While “off-roading,” the three men were neither trespassing nor
                                                        7     committing any other reported crimes. The Decedent was driving, while Pietronico was
                                                        8     seated in the front passenger seat, and Goedhart was seated in the backseat.
                                                        9            30.    While the three were driving home, a BPD vehicle began pursuing the vehicle.
                                                       10            31.    The Decedent continued to drive and eventually drove down a poorly lit Xenia
                                                       11     Ave. and Sixth St.—a street that was well-known by law enforcement to be a dead-end.
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                                                       12            32.    On information and belief, and as expected by law enforcement, Decedent
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                                                       13     reached the dead-end and was forced to make a U-turn. Decedent then turned around and
                                                       14     drove back towards the corner of Xenia Ave. and Sixth St.
                                                       15            33.    By the time the Decedent drove back to Xenia Ave. and Sixth St., law
                                                       16     enforcement had positioned their vehicles to purposely and intentionally block the
                                                       17     Decedent’s exit.
                                                       18            34.    The front windshield, the driver’s side window, and the front passenger side
                                                       19     window of the vehicle were not tinted, affording Defendants a clear view into the vehicle.
                                                       20            35.    On information and belief, as Decedent approached all the officers’ vehicles
                                                       21     that were strategically placed to prevent the Decedent’s exit, Decedent saw a gap between
                                                       22     two of the officers’ vehicles and attempted to exit.
                                                       23            36.    On information and belief, as Decedent approached the gap between two of the
                                                       24     officers’ vehicles, Decedent unintentionally struck one of them as he tried to exit.
                                                       25            37.    On information and belief, Decedent then became distraught and overwhelmed
                                                       26     as he became trapped by the multiple vehicles that were strategically placed to block his exit
                                                       27     and pulled the truck in reverse.
                                                       28            38.    On information and belief, Decedent then shifted his truck back into drive and
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                                                        1     immediately tried to drive towards the only available gap that was near the exit sign on the
                                                        2     corner of Xenia Ave. and Sixth St. at approximately 15 m.p.h.
                                                        3            39.    On information and belief, as Decedent went towards the only available gap,
                                                        4     Decedent clipped one of the officers’ vehicles that was strategically placed to prevent his exit.
                                                        5            40.    Once Decedent’s vehicle made contact with the second officer vehicle, the
                                                        6     Defendant officers immediately began to open-fire and utilize lethal force—intending to
                                                        7     strike Decedent.
                                                        8            41.    Decedent was struck by the officers’ bullets six times—one to the head, two to
                                                        9     the torso, one to his left forearm, and two to his left lower extremity—causing him to slump
                                                       10     over, which in turn caused the vehicle to accelerate into one of the officers’ vehicles, which,
                                                       11     on information and belief, was not occupied by anyone at the time.
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                                                       12            42.    Decedent died as a result of the six gunshot wounds.
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                                                       13            43.    One of the passengers, Pietronico, was also struck by the officers and began to
                                                       14     bleed profusely as a result of his gunshot wounds.
                                                       15            44.    Prior to the shooting, OFFICER SALINAS exited his vehicle that was
                                                       16     strategically placed to block Decedent from exiting. As Decedent attempted to exit the corner
                                                       17     of Xenia Ave. and Sixth St., OFFICER SALINAS fired off three rounds from his handgun
                                                       18     and aimed towards the driver’s side door. OFFICER SALINAS did not stop firing until he
                                                       19     saw the Decedent slumped over the steering wheel.
                                                       20            45.    Prior to the shooting, OFFICER BECERRA exited his vehicle that was
                                                       21     strategically placed to block Decedent from exiting. As Decedent attempted to exit the corner
                                                       22     of Xenia Ave. and Sixth St., OFFICER BECERRA fired his handgun at Decedent 1-3 times.
                                                       23     OFFICER BECERRA then inexplicably fired his handgun 10-15 times at the driver door
                                                       24     area. OFFICER BECERRA did not stop firing until he saw smoke coming from the
                                                       25     decedent’s vehicle and heard another officer yell “cease fire.
                                                       26            46.    Prior to the shooting, OFFICER RODRIGUEZ was in the passenger seat of the
                                                       27     officer vehicle being driven by OFFICER NGYUEN. OFFICER RODRIGUEZ remained in
                                                       28     the vehicle until her partner, OFFICER NGYUEN drove his vehicle until it came “bumper to
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                                                        1     bumper” with Decedent’s vehicle. OFFICER RODRIGUEZ then exited the vehicle and fired
                                                        2     her handgun six times and did not stop until she heard “cease fire” and saw the Decedent
                                                        3     “slanted over.”
                                                        4            47.     Prior to the shooting, OFFICER NYGUEN pursued Decedent’s vehicle until
                                                        5     his vehicle came “bumper to bumper” with Decedent’s vehicle. OFFICER NYGUEN then
                                                        6     exited the vehicle and fired five to six rounds from his handgun at the driver’s side door and
                                                        7     kept firing until the Decedent leaned back in his seat and remained motionless. OFFICER
                                                        8     NYGUEN then yelled “cease fire” to his fellow officers.
                                                        9            48.     Prior to the shooting, OFFICER ROJAS exited his vehicle that was
                                                       10     strategically placed to block Decedent from exiting. As Decedent attempted to exit the corner
                                                       11     of Xenia Ave. and Sixth St., OFFICER ROJAS fired his handgun towards’ the Decedent’s
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                                                       12     vehicle until another officer yelled “cease fire.”
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                                                       13            49.     Prior to the shooting, SERGEANT MARSH exited his vehicle that was
                                                       14     strategically placed to block Decedent from exiting. As Decedent attempted to exit the corner
                                                       15     of Xenia Ave. and Sixth St., SERGEANT MARSH saw the Decedent’s “panicked look.”
                                                       16     SERGEANT MARSH then fired his handgun towards’ the Decedent’s vehicle twice. until
                                                       17     another officer yelled “cease fire.”
                                                       18            50.     At no point prior to, during, or after the shooting did Decedent or any of the
                                                       19     passenger’s inside of the Decedent’s vehicle verbally threaten to harm anyone or attempt to
                                                       20     harm anyone.
                                                       21            51.     At all times in the leadup to and during the shooting, neither the Decedent, or
                                                       22     any of the passengers inside of Decedent’s vehicle pose a threat of death or serious bodily
                                                       23     harm to any of the Defendant Officers, DOE OFFICERS or anybody else, and Defendants
                                                       24     had other reasonable options available to them besides open firing on the vehicle.
                                                       25            52.     At all relevant times, Defendant officers, DOE OFFICERS acted within the
                                                       26     course and scope of their employment with CITY and the BPD and acted under color of
                                                       27     California law.
                                                       28            53.     On information and belief, several minutes passed before medical assistance
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                                                        1     was summoned by DOE OFFICERS, despite Decedent’s and Peitronico’s obvious bullet
                                                        2     wounds and urgent medical needs—causing further injuries and death of the Decedent.
                                                        3            54.    As a result of the six gunshot wounds, Decedent died on January 16, 2023.
                                                        4            55.    On July 24, 2023, Plaintiff filed a late claim for damages with the CITY
                                                        5     pursuant to applicable sections of the California Government Code.
                                                        6            56.    On August 24, 2023, Plaintiffs received a denial of application for leave to
                                                        7     present late claim.
                                                        8            57.    Plaintiffs filed their civil petition for relief from section 945.4’s requirements
                                                        9     within six months after the application to the public entity was denied by the CITY.
                                                       10            58.    On March 21, 2024, the Honorable Joshua Knight of the Superior Court of
                                                       11     California, County of Riverside, issued an order granting Plaintiffs civil petition for relief,
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                                                       12     with a formal order being issued on April 4, 2024.
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                                                       13
                                                       14                                    FIRST CLAIM FOR RELIEF
                                                       15                                              ASSAULT
                                                       16                                  (Plaintiffs against All Defendants)
                                                       17            59.    Plaintiffs reallege and incorporate by reference the allegations contained in the
                                                       18     preceding paragraphs of this complaint, as though fully set forth herein.
                                                       19            60.    Defendants intended to cause harmful or offensive contact with Garrett.
                                                       20            61.    Garrett reasonably believed that he was about to be touched in a harmful or
                                                       21     offensive manner by Defendants.
                                                       22            62.    Garrett did not consent to Defendants’ conduct.
                                                       23            63.    Garrett was harmed and injured by Defendants’ conduct.
                                                       24            64.    Defendants’ conduct was a substantial factor in causing Garrett to suffer
                                                       25     injuries and incur harm, and Garrett later died because of Defendants’ conduct.
                                                       26            65.    Plaintiffs are thus entitled to damages incurred to Garrett before his death, and
                                                       27     their own claims for wrongful death, economic and non-economic damages, and costs. The
                                                       28     specific amounts will be determined during the trial and will surpass the minimal
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                                                        1   jurisdictional limit to this court.
                                                        2          66.     The aforementioned acts of said Defendants were willful, wanton, malicious,
                                                        3   and oppressive. Such misconduct is highly reprehensible and warrants the awarding of
                                                        4   exemplary and punitive damages against Defendants in an amount suitable to punish and set
                                                        5   an example of said Defendants.
                                                        6
                                                        7                                  SECOND CLAIM FOR RELIEF
                                                        8                                              BATTERY
                                                        9                                   (Plaintiffs against all Defendants)
                                                       10          67.     Plaintiff realleges and incorporates by reference the allegations contained in
                                                       11   the preceding paragraphs of this complaint, as though fully set forth herein.
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                                                       12          68.     Defendants touched and caused Garrett to be touched with the intent to harm.
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                                                       13          69.     Garrett did not consent to the touching.
                                                       14          70.     Defendant was harmed by Defendants intentional and malicious touching.
                                                       15   As a direct and legal result of the intentional actions of the Defendants, on January 14,
                                                       16   Garrett suffered from six gunshot wounds—one to the head, two to the torso, one to his left
                                                       17   forearm, and two to his left lower extremity. Garrett died as a result of these injuries on
                                                       18   January 16, 2023.
                                                       19          71.     Plaintiffs are thus entitled to damages incurred to Garrett before his death, and
                                                       20   their own claims for wrongful death, economic and non-economic damages, and costs. The
                                                       21   specific amounts will be determined during the trial and will surpass the minimal
                                                       22   jurisdictional limit of this court.
                                                       23          72.     The aforementioned acts of said Defendants were willful, wanton, malicious,
                                                       24   and oppressive. Such misconduct is highly reprehensible and warrants the awarding of
                                                       25   exemplary and punitive damages against the Defendants in an amount suitable to punish and
                                                       26   set an example of said Defendants.
                                                       27   ///
                                                       28   ///
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                                                        1                                   THIRD CLAIM FOR RELIEF
                                                        2                              VIOLATION OF CIVIL CODE § 52.1
                                                        3                                   (Plaintiffs against all Defendants)
                                                        4          73.    Plaintiffs reallege and incorporate by reference the allegations contained in all
                                                        5   preceding paragraphs of this complaint, as though fully set forth herein.
                                                        6          74.    Defendants, acting within their scope of their duties as City of Beaumont
                                                        7   employees, caused injuries to Plaintiff.
                                                        8          75.    Defendant City of Beaumont is hereby liable for the acts, omissions, and
                                                        9   conduct of its employees, including Defendants herein, whose conduct was a cause in the
                                                       10   injury to Plaintiff, pursuant to California Government Code § 815.2.
                                                       11          76.    The conduct of Defendants constituted interference by threats, intimidation, or
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                                                       12   coercion, or attempted interference, with the exercise of enjoyment by Plaintiff’s rights
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                                                       13   secured by the Constitution of laws of the United States, or secured by the Constitution or
                                                       14   laws of the State of California, including interference with their right to be secure in his
                                                       15   person and free from the use of excessive force under the Fourth Amendment and Cal. Const.
                                                       16   Art. 1 sec. 13, as well as Cal. Civ. Code § 43, and the right of protection from bodily
                                                       17   restraint and harm.
                                                       18          77.    As a direct cause of Defendants’ conduct, Garrett was harmed and killed.
                                                       19          78.    The Defendant’s conduct was a substantial factor in causing Garrett harm,
                                                       20   injuries, and eventual death.
                                                       21          79.    The aforementioned acts of said Defendants were willful, wanton, malicious,
                                                       22   and oppressive and said misconduct shocks the conscience thereby justifying the awarding of
                                                       23   exemplary and punitive damages to all non-municipal Defendants.
                                                       24          80.    Due to the conduct of Defendants, and each of them, Plaintiff has been
                                                       25   required to incur attorneys’ fees and will continue to incur attorneys’ fees. Pursuant to
                                                       26   California Civil Code § 52.1, Plaintiffs are entitled to recover said fees.
                                                       27   ///
                                                       28   ///
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                                                                                              COMPLAINT FOR DAMAGES
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                                                        1                                FOURTH CLAIM FOR RELIEF
                                                        2                      VIOLATION OF CIVIL RIGHTS – 42 U.S.C. §1983
                                                        3                                 (Plaintiff against all Defendants)
                                                        4          81.    Plaintiffs reallege and incorporate by reference the paragraphs and allegations
                                                        5   contained in all the preceding paragraphs of this complaint, as though fully set forth herein.
                                                        6          82.    At all times material to this Complaint, Defendants were acting under color of
                                                        7   the law in violating Plaintiff’s constitutional rights as herein alleged under the First, Fourth,
                                                        8   and Fourteenth Amendments to the Constitution of the United States. The First, Fourth, and
                                                        9   Fourteenth Amendments are made applicable to the States pursuant to 42 U.S.C. §1983.
                                                       10          83.    Plaintiff has a constitutional right to be free from the use of excessive force by
                                                       11   law enforcement officers. Defendant Officers and Does 1-10 caused injuries with the use of
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                                                       12   force against Plaintiff’s person which was unnecessary, excessive or unreasonable, and
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                                                       13   thereby deprived Plaintiff of rights, privileges, and immunities secured to him by the Fourth
                                                       14   Amendment to the Constitution of the United States.
                                                       15          84.    Due to the conduct of Defendants, and each of them, Plaintiff has suffered
                                                       16   general damages and special damages, all in sum to be proved at trial.
                                                       17          85.    Due to the conduct of Defendants, and each of them, Plaintiff has been
                                                       18   required to incur attorneys’ fees and will continue to incur attorneys’ fees, all to Plaintiff’s
                                                       19   damage in a sum to be proved at trial and recoverable pursuant to 42 U.S.C §1988.
                                                       20          86.    The individual defendants acted with a conscious disregard of Plaintiff’s rights
                                                       21   conferred upon him by Section 1983, Title 42 of the United States Code, the First, Fourth,
                                                       22   and Fourteenth Amendments to the United States Constitution and California Civil Code
                                                       23   Section 3333, by intentionally causing him injury which led to death. Such conduct
                                                       24   constitutes malice, oppression and/or fraud under California Civil Code Section 3294,
                                                       25   entitling Plaintiff to punitive damages against the individual defendants in an amount
                                                       26   suitable to punish and set an example of said Defendants.
                                                       27   ///
                                                       28   ///
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                                                        1                                    FIFTH CLAIM FOR RELIEF
                                                        2                                         WRONGFUL DEATH
                                                        3                                    (Plaintiff against all Defendants)
                                                        4             87.   Plaintiffs reallege and incorporate by reference the paragraphs and allegations
                                                        5   contained in all the preceding paragraphs of this complaint, as though fully set forth herein.
                                                        6             88.   Pursuant to Cal. Government Code §§ 815.2, 815.3, Defendant CITY is liable for the
                                                        7   acts and/or omissions of DEFENDANT OFFICERS and DOE OFFICERS since those acts were
                                                        8   committed in the course and scope of employment.
                                                        9             89.   The actions of Defendants CITY and DOES 1 - 10 and each of them, were carried out
                                                       10   under color of authority as the City of Beaumont officers were acting within the course and scope of
                                                       11   their employment at all relevant times.
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                                                       12             90.   On or about January 14, 2023, while serving as peace officers for the City of
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                                                       13   Beaumont, Defendants engaged in violent actions approved by their employer, the City of Beaumont.
                                                       14   Utilizing the training tactics provided by the department, the Defendants deliberately inflicted lethal
                                                       15   harm upon Garrett without justification.
                                                       16             91.   As a direct, legal, and proximate result of the tragic acts or omissions of the
                                                       17   Defendants, Plaintiff has sustained pecuniary and non-pecuniary damages resulting from the loss of
                                                       18   society, comfort, companionship, attention, services, and support of the decedent. The value of these
                                                       19   damages exceeds the jurisdictional limit of the court and will be established through evidence during
                                                       20   the trial.
                                                       21             92.   As a further direct, legal, and proximate result of the acts or omissions committed by
                                                       22   the mentioned defendants, Plaintiff has incurred special damages that exceed the jurisdictional
                                                       23   threshold of this Court. These damages include the funeral and burial damages related to Garrett’s
                                                       24   death, which will be substantiated with evidence during the trial.
                                                       25             93.   As a further legal, direct, and proximate result of the Defendants’ acts or omissions,
                                                       26   Plaintiff has sustained pecuniary damages due to the absence of the deceased individual’s anticipated
                                                       27   financial and household contributions that would have been reasonably expected if he had not been
                                                       28   killed.
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                                                        1          94.    The actions described above, carried out by the mentioned defendants, were willful,
                                                        2   wanton, malicious, and oppressive. This misconduct is extremely egregious and morally offensive,
                                                        3   which warrants the granting of exemplary and punitive damages as to all non-municipal defendants.
                                                        4
                                                        5                                       PRAYER FOR RELIEF
                                                        6      WHEREFORE, Plaintiffs GARY BLACKWELL and SHANNON LUELLEN pray for
                                                        7   judgment as follows:
                                                        8          1.     For general damages in an amount to be determined by proof at trial;
                                                        9          2.     For special damages in an amount to be determined by proof at trial;
                                                       10          3.     For punitive and exemplary damages against Defendants;
                                                       11          4.     For costs of suit;
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                                                       12          5.     For reasonable attorney’s fees and costs as provided by statute; and
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                                                       13          6.     For such other and further relief as the Court deems just and proper.
                                                       14
                                                            DATED: April 22, 2024                                      GERAGOS & GERAGOS, APC
                                                       15
                                                       16                                                          By: __/s/ Daniel Tapetillo__________
                                                                                                                        DANIEL TAPETILLO
                                                       17                                                               KIMBERLY CASPER
                                                       18                                                               Attorneys for Plaintiffs

                                                       19
                                                       20                                  DEMAND FOR JURY TRIAL

                                                       21          Plaintiffs GARY BLACKWELL and SHANNON LUELLEN hereby demand a jury

                                                       22   trial.
                                                            DATED: April 22, 2024                                       GERAGOS & GERAGOS, APC
                                                       23
                                                       24
                                                                                                                   By: __/s/ Daniel Tapetillo__________
                                                       25                                                               DANIEL TAPETILLO
                                                                                                                        KIMBERLY CASPER
                                                       26                                                               Attorneys for Plaintiffs
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